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    7
          Cassandra Arvizu
                                    UNITED STATES DISTRICT COURT
    8                              CENTRAL DISTRICT OF CALIFORNIA
    9

   10     CASSANDRA ARVIZU,                          Case No.: 5:21-cv-01096-PA-SP
   11            Plaintiff,
                                                     NOTICE OF DISMISSAL WITH
   12
          v.                                         PREJUDICE
   13
          EQUIFAX INFORMATION
   14
          SERVICES LLC,
   15
                 Defendants.
   16

   17

   18
               Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(1), notice is hereby given that
   19

   20
        Defendant may be dismissed with prejudice, with the parties to bear their own fees

   21   and costs.
   22
               Respectfully submitted September 17, 2021
   23

   24
                                                  MCCARTHY LAW, PLC
   25
                                                 By: /s/ Garrett Charity
   26                                            Garrett Charity, Esq.
   27                                            Attorneys for Plaintiff
   28

        Arvizu v. Equifax                        1                    NOTICE OF SETTLEMENT
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    1                             CERTIFICATE OF SERVICE
    2
               I hereby certify that on September 17, 2021, I electronically transmitted the
    3
         foregoing document to the Clerk’s Office using the ECF system for filing and
    4
         transmittal of a Notice of Electronic Filing to all CM/ECF registrants of record
    5
         in this matter.
    6

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    8
                                               By:/s/ Garrett Charity
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        Arvizu v. Equifax                         2                     NOTICE OF SETTLEMENT
